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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

     * * * * * * * * * * * * * * * * * * * *

United States of America,

                   Plaintiff,

      vs.                                  REPORT AND RECOMMENDATION

Todd NMN Jourdain, and
Robin Greg Kelly, Jr.,


                   Defendants.                  Crim. 06-313 (01-02) (RHK/RLE)

     * * * * * * * * * * * * * * * * * * * *


                                  I. Introduction

      This matter came before the undersigned United States Magistrate Judge

pursuant to a general assignment, made in accordance with the provisions of Title 28

U.S.C. §636(b)(1)(B), upon the following Motions of the Defendants Todd NMN

Jourdain (“Jourdain”) and Robin Greg Kelly, Jr. (“Kelly”):

            1.     Kelly’s Motion to Suppress Statements.

            2.    Kelly’s Motion to Suppress Evidence Obtained as a
            Result of Search and Seizure.

            3.     Jourdain’s Motion to Suppress Statements.
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             4.    Jourdain’s Motion to Suppress Evidence Obtained as
             a Result of Search and Seizure.

A Hearing on the Motions was conducted on October 27, 2006, at which time,

Jourdain appeared personally, and by Andrea K. George and Caroline Durham,

Assistant Federal Defenders; Kelly appeared personally, and by James E. Ostgard, II,

Esq.; and the Government appeared by David M. Genrich, Assistant United States

Attorney. For reasons which follow, we recommend that each of the Defendants’

Motions be denied.

                               II. Factual Background

      In an Indictment, the Defendants are each charged with one Count of Murder

in the Second Degree, in violation of Title 18 U.S.C. §§2, 1111, 1151 and 1153(a).

The alleged offenses are said to have occurred from on or about August 27, 2006,

within this State and District, and within the exterior boundaries of the Red Lake

Indian Reservation. As pertinent to these charges, and to the Defendants’ Motions to

Suppress, the operative facts may be briefly summarized.1

      1
        Rule 12(d), Federal Rules of Criminal Procedure, provides that “[w]hen factual
issues are involved in deciding a motion, the court must state its essential findings on
the record.” As augmented by our recitation of factual findings in our “Discussion,”
the essential factual findings, that are required by the Recommendations we make, are
contained in this segment of our Opinion. Of course, these factual findings are
preliminary in nature, are confined solely to the Motions before the Court, and are
                                                                          (continued...)

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      At the Suppression Hearing, the Government presented testimony from Patrick

Graves (“Graves”), who is the Acting Director of Public Safety at the Red Lake Police

Department (“RLPD”); Brian Peterson (“Peterson”), who is a criminal investigator

with the RLPD; and Michael Thompson (“Thompson”), who is an agent with the

Federal Bureau of Investigation (“FBI”). In addition, the parties stipulated to the

admission of several documents into evidence, solely for the purposes of the

Defendants’ Motions. See, Governments Exhs. 1-14; All Parties Joint Exhs. 1-4;

Government-Jourdain Joint Exhs 1-2.2

      On August 28, 2006, the RLPD received a report that Travis Feather

(“Feather”) was missing, and that he had last been heard from on August 26, 2006.

See, All Parties’ Joint Exh. 1. In the report, Feather’s mother told law enforcement

that she had last spoken with her son on August 26, 2006, at which time, he sounded




      1
       (...continued)
subject to such future modification as the subsequent development of the facts and law
may require. See, United States v. Moore, 936 F.2d 287, 288-89 (6th Cir. 1991);
United States v. Prieto-Villa, 910 F.2d 601, 610 (9th Cir. 1990).
      2
        For purposes of these Motions, “Government-Jourdain Joint Exhibits” refer to
those documents to which only the Government and the Defendant Jourdain have
stipulated.

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intoxicated. She also reported that her son had called from the Jourdain residence.

Id.

      Robert McClain (“McClain”), who is an officer with the RLPD, followed up on

the missing person report, and visited Jourdain’s residence, but he was unable to

locate any of the residence’s occupants. McClain subsequently spoke with Feather’s

mother, who told him that Feather was with Jourdain, and Kelly, at the Jourdain

residence during her last telephone conversation with her son. Id. After this

exchange, McClain contacted Kelly and asked him whether he had any helpful

information. Kelly told McClain that he was with Feather on August 26, 2006, and

that he had last seen an intoxicated Feather leaving the Jourdain residence at

approximately 10:00 o’clock p.m. that evening. Id.

      On August 28, 2006, Feather’s mother visited the police station, and provided

law enforcement with Feather’s picture. At the Hearing, both Peterson and Graves

testified that they were aware of the report concerning Feather’s disappearance.

Graves also testified that he was related to Kelly -- as a third cousin -- and that he had

intermittent contact with him, as did Graves’s son, on a monthly basis.

      On August 28, 2006, at approximately 3:40 o’clock p.m., Graves received a

telephone call from Kelly in his office, while he was on duty. Kelly requested that


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Graves provide him with a ride home from work, and added that he needed to speak

with Graves about an important matter. However, Kelly would not provide any

further information over the telephone.         Graves believed Kelly’s demeanor,

throughout the conversation, was atypical as Kelly did not seem his usual, jovial self.

Instead, Graves thought Kelly sounded somber and troubled. Graves told Kelly that

he was really busy, but that he would soon leave the police station to pick him up.

After the phone call ended, Graves, as part of his ordinary practice when leaving the

station, informed Peterson, as well as Dana Lyons Jr. (“Lyons”), who is an Acting

Captain with the RLPD, that he was going to go pick up Kelly from work, and speak

with Kelly, who reportedly had something important to tell him. Graves testified that

a potential connection between Kelly’s phone call, and Feather’s disappearance, may

have crossed his mind, and that he was also aware that Kelly had earlier been

interviewed by McClain. Peterson testified that Graves had told him to “hang around”

the police station until he returned. However, Graves believed that Kelly was going

to tell him about either a personal, or family, matter.

      At approximately 3:50 o’clock p.m., Graves arrived at Kelly’s place of

employment in his unmarked police vehicle. Kelly entered the vehicle and sat in the

front passenger’s seat. Graves began driving to Kelly’s residence. During the course


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of the drive, Kelly asked Graves if he remembered when he had told Kelly that he

would love him no matter what. After Graves acknowledged his promise, Kelly told

Graves that “I f***ed up.” Graves asked him to clarify what he meant by that

statement. Kelly responded by telling Graves that, while he was drinking at the

Jourdain residence, he was involved in a fight, and added that “we killed Travis

Feather.” Graves immediately told Kelly not to say anything more to him. Graves

observed that Kelly was visibly upset, and that his hands were shaking, but that he was

not crying. Kelly asked if he could smoke a cigarette, which Graves permitted.

Graves asked Kelly if he would be willing to speak with an investigator, and Kelly

agreed to do so. Graves called Peterson and told him that Kelly wished to speak with

him, but he did not provide any other information. Graves testified that he did not

ask Kelly any other substantive questions, and that he informed Kelly, upon their

arrival at the station, that he may have to testify against him.

      Graves and Kelly arrived at the Red Lake Police Station approximately ten (10)

minutes after Graves had initially picked Kelly up from work. Graves and Kelly

proceeded to Peterson’s office, where Kelly was seated in front of Peterson’s desk.

At no time prior to, or during, the course of the initial interview was Kelly formally

placed under arrest, or restrained with handcuffs. Graves was dressed in his uniform


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with his badge and firearm exposed. Peterson was dressed in plain clothes and was

also armed. Kelly declined an offer of food, but accepted a soft drink purchased by

Peterson. At the beginning of the interview, the only persons present with Kelly in

the room were Graves, Peterson, and Leonard Red Cloud (“Red Cloud”), who is an

officer with the RLPD. Graves testified that Kelly asked him to remain present during

the interview. At the Hearing, Graves and Peterson stated that they had previously

interacted with Kelly on official police business. Peterson also stated that he had no

prior knowledge of the purpose, or the subject matter of the interview until it began,

and that Kelly simply advised him that he “had something to tell me.”

      Throughout the course of the interview, Kelly’s hands continued to tremble.

He also stated that he had experienced difficulty in sleeping and eating, but did not

provide further elaboration. Graves and Peterson testified that Kelly answered

appropriately, and responsively, when questioned. There was also no indication that

Kelly was under the influence of drugs or alcohol.

      The investigator’s office, in which the interview was conducted, contained two

(2) desks, a file cabinet, and several chairs. Red Cloud was positioned behind Kelly,

and Graves was also present in the interview room. Kelly sat in front of Peterson’s

desk, at which Peterson was seated.


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      The interview began with Peterson asking several “administrative questions,”

which comprised of Kelly’s name, date of birth, and other identifying information.

Afterwards, Kelly was advised of his rights, see, Miranda v. Arizona, 384 U.S. 436

(1966), and he responded by orally waiving those rights, and memorialized his waiver

in writing, by initialing the lines of the advisory on the waiver form, and signing the

bottom of the form. See, Government Exh. 1. Peterson testified that he observed

Kelly read and sign the form. After each line of the form was read to him, Kelly was

asked if he understood what was being asked of him, and he was afforded an

opportunity to initial each advisory. At no time did Kelly refuse to cooperate with law

enforcement, and he never asked for an attorney. In the course of the interview, Kelly

drew a map, which provided the location of Feather’s body in relation to the Jourdain

residence. See, Government Exh. 2. At the conclusion of the initial interview, Kelly

was afforded the opportunity to smoke a cigarette, and was escorted outside by Red

Cloud and Graves.

       Peterson then contacted John Egelhof (“Egelhof”), who is a Special Agent with

the FBI. Afterwards, Tim Ball (“Ball”), and Asher Silkey (“Silkey”), who are both

agents with the FBI, arrived at the police station, where they were informed of the

substance of what had been obtained during Kelly’s initial interview. Peterson


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testified that he had asked Kelly if he wanted to have the interview recorded -- an

offer which he refused. Silkey wished to have the interview recorded, but Peterson

told Silkey of Kelly’s refusal, so Silkey did not ask Kelly for permission to record the

interview.

      At approximately 5:52 o’clock p.m., on that same date, Silkey entered

Peterson’s office, where Kelly was seated. Shortly thereafter, Graves left the

interview room in order to secure the Jourdain residence, where Kelly said the

incident resulting in Feather’s death occurred. Silkey identified himself to Kelly, and

advised him that he was aware of Kelly’s initial interview with Peterson, See, All

Parties Joint Exh. 3. Silkey was dressed in plain clothes with his firearm concealed.

Silkey told Kelly that he was doing “the responsible thing” by coming forward with

information, and that he would like to re-advise Kelly of his rights. Id. at p. 1.

      Silkey advised Kelly of his rights by reading, verbatim, from an “Advice of

Rights” form, after which he asked Kelly whether Kelly would waive his rights. Kelly

waived his rights and signed the Advice of Rights form. See, Government Exh. 5.

The interview was not recorded, but the substance of the interview was summarized

in Silkey’s report. All Parties Joint Exh. 3. Silkey also informed Kelly that he would




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potentially be arrested after the interview. At that point, Kelly related the events

surrounding Feather’s disappearance.

      Kelly stated that he was drinking at the Jourdain residence for most of the day,

and evening, of August 26, 2006. Kelly, Feather, and Jourdain, collectively consumed

three (3) liters of brandy, as well as a case of beer. Kelly stated that a fight arose

between the men, but that everything “was a blur.” Id. at p. 2. When Kelly woke up

the next morning -- at approximately 9:00 or 10:00 o’clock a.m. -- he and Jourdain

discovered Feather lying on the lawn of the Jourdain residence. Upon examination,

they determined that Feather was dead. Kelly told Silkey that he had hit and kicked

Feather, but did not remember why he had done so. When asked of Jourdain’s

involvement in the matter, Kelly responded that “Jourdain can speak for himself,” and

that he did not know if Jourdain had kicked or hit Feather. Id.

      Kelly remembers that he had left Feather, who he stated was his friend, on the

ground the previous evening, and that he entered the Jourdain residence in order to

sleep. Kelly believed that Feather was “knocked out drunk.” Id. However, he

observed that Feather was bleeding from both his head and mouth. Upon discovering

Feather’s body, Kelly and Jourdain “freaked out” and then quarreled with one another

over what action they should take.


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      In the course of the interview, at 6:30 o’clock p.m., Peterson left the office and

Silkey advised Kelly to take a break until Peterson returned. Kelly asked Silkey if he

would be taken to the Beltrami County Jail, in Bemidji, Minnesota, and Silkey

responded that Kelly would be arrested if the information that he had provided was

indeed true. Kelly stated that he had been telling the truth, and that he was willing to

take law enforcement to Feather’s burial site.

      At approximately 6:37 o’clock p.m., Silkey advised Kelly that he was being

placed under arrest for Feather’s murder, at which point, Silkey reread the warning

provided on the Advice of Rights form. Kelly waived his rights and signed another

waiver form. See, Government Exh. 6. Kelly proceeded to tell Silkey of the events

surrounding Feather’s burial. Silkey advised Kelly that this was his opportunity to tell

the truth about his, as well as Jourdain’s, involvement in Feather’s death. Kelly stated

that he did not beat Feather by himself, and that he had seen Jourdain hit Feather, and

that Kelly and Jourdain both “piled” upon Feather. Id. at p. 4. Kelly stated that

Jourdain hit and kicked Feather, and that they were both beating Feather at the same

time. Kelly was unsure if Jourdain hit Feather in the head.

      At approximately 7:02 o’clock p.m., Kelly declined an invitation for a break,

although a break was subsequently taken at approximately 7:08 o’clock p.m. Kelly


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also went outside, while accompanied by Peterson and Graves, in order to smoke a

cigarette at 7:11 o’clock p.m.

       At approximately, 7:22 o’clock p.m. that evening, Kelly executed a Consent

to Search form, which had been provided by the FBI, and which authorized a search

of the residence where Kelly was staying. See, Government Exh. 7. Kelly also

provided a written statement, which was transcribed by Silkey. See, Government Exh.

8. Kelly stated that he possessed a twelfth (12) grade education, but that he had not

received a diploma. He also advised that he was capable of reading and writing, and

that he understood the contents of the transcribed statement. Kelly made several

changes to the statement, and initialed each of those changes, as well as the bottom of

each of the two (2) paragraphs which comprised the written statement. The written

statement records that it was produced voluntarily, in the absence of any threats or

promises, and that it was provided of Kelly’s “own free will and without coercion.”

Id.

       Kelly told Silkey that he believed that Feather “died from Jourdain and Kelly

beating him.” All Parties Joint Exh. 3. Kelly also stated that no one else was present

at the Jourdain residence who could have hurt Feather, and that it was not cold enough

for the weather to have resulted in Feather’s death. Id. at p. 5.


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      Kelly provided Silkey with Jourdain’s telephone number, and represented that

Jourdain was currently receiving treatment at a detoxification center in Pine Manor.

At 7:55 o’clock p.m., Kelly agreed to direct Silkey, and Peterson, to Feather’s burial

site, and the interview at Peterson’s office concluded.

      Kelly, Silkey, and Peterson, drove together to Jourdain’s residence, where Kelly

was allowed to smoke a cigarette. Upon arrival at the residence, Kelly pointed to

where he and Jourdain buried Feather, where he burned his shoes, and where one of

the shovels used in burying Feather was kept. At approximately 8:29 o’clock p.m.,

Kelly, Silkey, and Peterson, left the Jourdain residence, and proceeded to the Beltrami

County Jail. They arrived at approximately 9:06 o’clock p.m., at which time, Kelly

advised that he was sober, and that he had not consumed any drugs or alcohol that

day. Kelly then executed a consent form to allow Silkey to obtain DNA buccal swabs

from Kelly. Id. at 6; see also, Government Exh. 9.

      On August 29, 2006, at approximately 11:00 o’clock a.m., Thompson received

a phone call from Egelhof, during which he was advised that a Warrant had been

issued for Jourdain’s arrest. Thompson testified that he received a facsimile copy at

the Crookston Police Department (“CPD”). Upon receipt, Thompson went with

another FBI agent, as well as two (2) officers affiliated with the CPD, to the


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detoxification center where Jourdain was receiving treatment. Thompson and the

other law enforcement officials entered the reception area, where they met with

hospital staff. They approached Jourdain, who was in the middle of a telephone

conversation. Upon the conclusion of his call, Thompson informed Jourdain that there

was a Warrant issued for his arrest. Jourdain changed out of his hospital clothes, and

into his personal garments, and was then handcuffed. He was then escorted to the

police vehicle, with clothing draped over his hands to conceal the handcuffs. No

weapons were displayed in the course of Jourdain’s arrest, or interview.

      After departing from the detoxification center, Jourdain did not engage in any

substantive discussion or conversation with law enforcement. Upon the arrival at the

police station, Jourdain was provided a copy of a Warrant, and was asked if he would

be willing to be interviewed. Thompson advised Jourdain that, before he could

proceed, he needed to advise him of his rights.

      Thompson testified that Jourdain was cooperative and expressed his willingness

to be interviewed. Jourdain also stated that he had an attorney and, in response, law

enforcement asked whether he wished to speak with his attorney at that time. Jourdain

stated he did not want to contact an attorney. Jourdain was subsequently provided

with a form which advised him of his rights. Jourdain was orally advised of his rights,


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and he expressed his desire to waive those rights, at which time, one of the FBI agents

provided a checkmark next to the waiver of rights. See, Government Exh. 12.

Jourdain further advised that he had not eaten earlier, and stated that he was hungry.

In response, Thompson provided Jourdain with a hamburger, as well as some french

fries. Thompson testified that after Jourdain was finished with his meal, the FBI agent

who accompanied Thompson re-advised Jourdain of his rights, and he was provided

a second, slower reading of Jourdain’s rights. At that time, Jourdain signed the waiver

form.

        Thompson testified that Jourdain answered appropriately to questioning, and

that he made eye contact with Thompson throughout the interview. However, after

several statements made over the course of ten (10) minutes, Jourdain advised that he

wished to terminate the interview. He was then afforded the opportunity to make a

phone call, and the interview was terminated.

                                   III. Discussion

        A.    Kelly’s Motion to Suppress Statements.

              1.    Standard of Review. Government agents are not required to

administer Miranda warnings to everyone they question. See, Oregon v. Mathiason,

429 U.S. 492, 495 (1977). Rather, Miranda warnings are required for official


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interrogations where a person has been “‘taken into custody or otherwise deprived of

his freedom of action in any significant way.’” Stansbury v. California, 511 U.S. 318,

322 (1994), quoting Miranda v. Arizona, supra at 444; United States v. Helmel, 769

F.2d 1306, 1320 (8th Cir. 1985); Berkemer v. McCarty, 468 U.S. 420, 428-29 (1984).

Once a suspect is in police custody and subject to interrogation, the suspect must be

informed of his constitutional right to remain silent, and to be represented by legal

counsel during questioning. See, Miranda v. Arizona, supra at 473; see also, Dormire

v. Wilkinson, 249 F.3d 801, 804 (8th Cir. 2001), cert. denied, 534 U.S. 962 (2001).



      “In determining whether an individual was in custody, a court must examine all

of the circumstances surrounding the interrogation, but ‘the ultimate inquiry is simply

whether there [was] a formal arrest or restraint on freedom of movement of the degree

associated with a formal arrest.” Stansbury v. California, supra at 322, quoting

California v. Beheler, 463 U.S. 1121, 1125 (1983). A list of common indicia of

custody, that has been identified by our Court of Appeals, includes the following:

             (1) whether the suspect was informed at the time of
             questioning that the questioning was voluntary, that the
             suspect was free to leave or request the officers to do so, or
             that the suspect was not considered under arrest; (2)
             whether the suspect possessed unrestrained freedom of
             movement during questioning; (3) whether the suspect

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              initiated contact with authorities or voluntarily acquiesced
              to official requests to respond to questions; (4) whether
              strong arm tactics or deceptive stratagems were employed
              during questioning; (5) whether the atmosphere of the
              questioning was police dominated; or (6) whether the
              suspect was placed under arrest at the termination of the
              questioning.
United States v. Griffin, 922 F.2d 1343, 1349 (8th Cir 1990); see, United States v.
Ollie, 442 F.3d 1135, 1137 (8th Cir. 2006); United States v. Czichray, 378 F.3d 822,
827 (8th Cir. 2004), cert. denied 544 U.S. 1060 (2005); United States v. Axsom, 289
F.3d 496, 500, 501 (8th Cir. 2002).

However, these factors “are by no means exhaustive and should not be applied

ritualistically, counting indicia which contribute to custody against those which

detract.” United States v. Brave Heart, 397 F.3d 1035, 1039 (8th Cir. 2005), citing

United States v. Czichray, supra at 827. Instead, the Griffin factors serve as a guide

to the resolution of the ultimate inquiry of “whether the defendant was restrained as

though he were under formal arrest.” See, United States v. Czichray, supra at 827.

      Whether or not Miranda is implicated, the Supreme Court has recognized that,

in order for a confession to be admitted into evidence, it must be voluntary if it is to

satisfy the Fifth Amendment’s right against self-incrimination. See, Dickerson v.

United States, 530 U.S. 428, 433-34 (2000). For a confession to be considered

voluntary, a Court must examine “‘whether a defendant’s will was overborne’ by the




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circumstances surrounding the giving of a confession.” Dickerson v. United States,

supra at 434, citing Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973).

      As the Supreme Court has recently explained:

              The due process test takes into consideration “the totality of
              all the surrounding circumstances -- both the characteristics
              of the accused and the details of the interrogation.”
              [Schneckloth v. Bustamonte, 412 U.S. at 226.] See also
              Haynes [v. Washington, 373 U.S. 503, 513] (1963);
              Gallegos v. Colorado, [370 U.S. 49, 55] (1962); Reck v.
              Pate, [367 U.S. 433, 440] (1961) (“[A]ll the circumstances
              attendant upon the confession must be taken into account”);
              Malinski v. New York, [324 U.S. 401, 404] (1945) (“If all
              the attendant circumstances indicate that the confession was
              coerced or compelled, it may not be used to convict a
              defendant”). The determination “depend[s] upon a
              weighing of the circumstances of pressure against the
              power of resistance of the person confessing.” Stein v. New
              York, [346 U.S. 156, 185] (1953).
Id. at 434.

Among the circumstances, which are to be considered in this analysis are, first and

foremost, whether a Miranda warning has been given, see, Withrow v. Williams, 507

U.S. 680, 693 (1993); any elements of “police coercion,” see, Colorado v. Connelly,

479 U.S. 157, 167 (1986); the length of the interrogation, see, Ashcraft v. Tennessee,

322 U.S. 143, 153-154 (1944); the location of the interrogation, see, Reck v. Pate, 367

U.S. 433, 441 (1961); and the continuous nature of the interrogation, see, Leyra v.

Denno, 347 U.S. 556, 561 (1954). See also, Withrow v. Williams, supra at 693

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(listing the applicable considerations). However, “[w]e cannot find that a statement

was involuntary unless it is established that law enforcement officials engaged in

coercive activity.” United States v. Bordeaux, 400 F.3d 548, 560 (8th Cir. 2005).

       2.    Legal Analysis. Kelly has challenged the admissibility of three (3) sets

of statements that he made to law enforcement: 1) statements that he made while in

Graves’ vehicle after he was picked up from work; 2) statements that he made during

his initial interview with Peterson; and 3) statements that he made during his interview

with Silkey. We address the circumstances underlying each set of Kelly’s statements,

in turn.

             a.     Kelly’s Motion to Suppress Statements Made While in Graves’

Vehicle. Here, Kelly does not argue that the statements he made while in Graves’

vehicle were the result of a custodial interrogation, but instead, he solely contends that

those statements were made involuntarily.3 Specifically, Kelly contends that his


       3
        Even if we construe Kelly’s Motion as seeking to suppress the statements as
the result of a failure to issue a Miranda warning prior to a custodial interrogation, we
find that Kelly was not “in custody” at the times that any statements were made. In
applying the Griffin factors, see, United States v. Griffin, supra at 1349, we note that
Kelly initiated the interview by contacting Graves and asking for a ride home from
work, and he stated that he had something important he wished to discuss with
Graves. Kelly was not arrested at any time during, or immediately following, the car
ride, and Graves uncontroverted testimony is that he was merely driving his cousin
                                                                            (continued...)

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statements were rendered involuntary as a result of his “young age, and lack of

maturity and intelligence, his intoxication, his lack of food and sleep prior to the

interrogation, the lack of any warning about rights prior to the initial interrogations,

and appeals by the officer to the defendant’s emotions, taking advantage of [Kelly’s]

emotional state of mind.” Kelly’s Motion for Suppression of Confessions or

Statements, Docket No. 38, at p. 1.

      Here, we find that Kelly’s statements, which were made during the trip in

Graves’ car, were voluntarily given. Notably, the Record is devoid of any evidence

that Graves made any threats or promises to Kelly, or used any coercive tactics during

the questioning. Similarly, no suggestion has been made that Kelly failed to

understand the nature of the conversation, or his ability to refrain from answering

Graves’s questions. In fact, Graves did not apparently ask Kelly any questions which


      3
        (...continued)
home from work, as Kelly had requested. At no time did Graves initiate questioning,
or even ask anything about the Feather investigation, and only asked Kelly to clarify
what he meant by stating that he had “f***ed up.” At no time was Kelly placed in
restraints, or had his freedom of movement restrained in any manner, other than those
restraints incident to car travel. Graves did not dominate the conversation, as he
allowed Kelly to control the conversation and, as soon as Kelly made an incriminating
statement, Graves advised Kelly not to say anything further to him. In sum, we find
no basis to conclude that Kelly was subject to custodial interrogation while in Graves’
vehicle, and accordingly, the lack of any advisement as to Kelly’s rights, at that time,
does not necessitate any suppression of his statements on that basis.

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elicited any substantive response, other than for him to clarify what he meant when

he said that he “f***ed up.” Rather, Graves’s uncontradicted testimony reflects that

Kelly appeared to understand the circumstances of their conversation, given that he

spoke thoughtfully, somberly, and was clearly aware of the import of the information

he was providing his cousin.

      While Kelly argues that Graves appealed to Kelly’s emotions, and took

advantage of Kelly’s emotional state of mind, we find no evidence to support the

claim. Undoubtedly, Kelly was emotionally affected by what he chose to tell Graves,

but there is no showing in this Record that Graves played upon that emotional state.

In fact, Graves simply listened to Kelly and, when a potentially incriminating

statement was made, he advised Kelly not to speak further to him. Given this Record,

we find no intimation of coercion, on Graves’ part, to induce Kelly to speak to him.

Moreover, there is no evidence that Kelly was under the influence of any drugs or

alcohol throughout the interview, as Graves testified that Kelly appeared sober. Given

the circumstances which led to Kelly’s request for a ride home, and Graves’

familiarity with Kelly, we see no reason for Graves to advise Kelly of his rights --

especially when Kelly does not allege, let alone prove, that his ride with Graves was

custodial in nature.


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      Furthermore, there is no suggestion that Kelly, who was twenty (20) years old

at the time of the statements, see, All Parties Joint Exh 2., and who possessed a twelfth

(12) grade education, see, All Parties Joint Exh 3., at p. 4, was incapable of

understanding the nature of his statements, or that his will was overborne in discussing

the previous days’ events with Graves. Lastly, although Kelly alluded to a lack of

sleep and food, we find no evidence that either circumstance rendered his statements

involuntary.4 See, United States v. Casal, 915 F.2d 1225, 1229 (8th Cir. 1990), cert.

denied 499 U.S. 941 (1991)(defendant’s lack of sleep for five (5) days, and

intoxication owing to methamphetamine use, did not render confession involuntary);

United States v. Petary, 857 F.2d 458, 461 (8th Cir. 1988)(finding statements

voluntary, even though defendant “had not slept for approximately twenty-four hours

and had consumed beer but no food.”). In sum, we find that, under the totality of the



      4
        We note that Kelly never described how long he had gone without eating, or
sleeping. We merely note that in his statements to police he noted that he had slept
prior to discovering Feather’s body less than forty-eight (48) hours before the
statements. Furthermore, the effect of lack of food is not corroborated by the fact that
Kelly turned down an offer of food prior to his interview with Peterson, a mere ten
(10) minutes after his statements to Graves. While, undoubtedly, the circumstances
that Kelly described to law enforcement could impact upon a person’s capacity to
sleep, this Record is devoid of any showing that lack of sleep, or loss of appetite, led
to an overpowering of Kelly’s will that would render any of his statements
involuntary.

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circumstances, Kelly’s statements, which were made during the ride with Graves,

were entirely voluntary, and Kelly’s Motion to Suppress those statements should be

denied.

             b.     Kelly’s Motion to Suppress Statements Made During the Peterson
                    Interview.

                    The Record is uncontested that, prior to the interview with

Peterson occurring, Kelly was advised of his Miranda rights, and that he waived those

rights by signing a “Waiver of Rights” form, which contained the statement: “I have

read this statement of my rights and I understand what my rights are,” and “[a]t this

time, I am willing to answer questions without a lawyer present.” See, Government

Exhibit 1. Accordingly, since there is nothing in the Record to suggest that any of the

officers utilized coercive tactics, such as threats or promises, in order to procure that

waiver, we find that Kelly knowingly, intelligently, and voluntarily, waived his

Miranda rights.

      Moreover, under the “totality of the circumstances,” we also find that Kelly’s

statement was voluntarily given. “[C]ases in which a defendant can make a colorable

argument that a self-incriminating statement was ‘compelled’ despite the fact that the

law enforcement authorities adhered to the dictates of Miranda are rare.” United

States v. Astello, 241 F.3d 965, 966 (8th Cir. 2001), cert. denied, 533 U.S. 962 (2001),

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quoting Berkemer v. McCarty, supra at 433; see, United States v. Annis, 446 F.3d

852, 856 (8th Cir. 2006)(“[M]aintaining that a statement is involuntary even though

given after warnings and voluntary waiver of rights requires unusual stamina, and

litigation over voluntariness tends to end with the finding of voluntary waiver.”),

quoting Missouri v. Siebert, 542 U.S. 600, 609 (2004).

      As our Court of Appeals has recognized:

            To state the obvious, “interrogation of a suspect will
            involve some pressure because its purpose is to elicit a
            confession.” [United States v. Astello, 241 F.3d 965, 967
            (8th Cir. 2001), cert. denied, 533 U.S. 962 (2001)]. “[T]he
            fact that the tactics produced the intended result * * * does
            not make a confession involuntary.” Id. at 968. In other
            words, ‘there is nothing inherently wrong with efforts to
            create a favorable climate for confession.” United States v.
            LeBrun, 306 F.3d 545, 555 (8th Cir. 2002)(internal citations
            omitted. “‘[Q]uestioning tactics such as a raised voice,
            deception, or a sympathetic attitude will not render a
            confession involuntary unless the overall impact of the
            interrogation caused the defendant’s will to be overborne.’”
            Astello, 241 F.3d at 967 (quoting Jenner v. Smith, 982 F.2d
            329, 334 (8th Cir. 1993)). Nor will a promise of leniency,
            an “expressed disbelief in the statements of a suspect * * *,
            or lie[s] to the accused about the evidence against him”
            necessarily render a confession involuntary. Wilson v.
            Lawrence County, 260 F.3d 946, 953 (8th Cir. 2001)
            (internal citations omitted). Rather, the coercive conduct
            must be “such that the defendant’s will was overborne and
            his capacity for self determination critically impaired.”
            Astello, 241 F.3d at 967 (internal citations omitted).


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United States v. Santos-Garcia, 313 F.3d 1073, 1079 (8th Cir. 2002); see, United States
v. Brave Heart, 397 F.3d 1035, 1041 (8th Cir. 2005); United States v. LeBrun, 363
F.3d 715, 725-26 (8th Cir. 2004), cert. denied, 543 U.S. 1145 (2005); see also, United
States v. Martin, 369 F.3d 1046, 1052-53, 1056 (8th Cir. 2004).

As was true with Kelly’s statements in Graves’ vehicle, we find no responsible basis

upon which to conclude that the Defendant’s will was overborne by the questioning

techniques that were employed by Peterson, or because of any of Kelly’s individual

characteristics.

      The uncontroverted testimony at the Hearing, from Graves, established that

Kelly voiced no objection to speaking with an investigator when asked. Notably, no

threats or promises were made during the interview, and Kelly had prior experience

with police investigatory techniques, arising with his previous encounters with law

enforcement. See, Government Exh. 3. Furthermore, his relative, who was the Acting

Director of the police department, stayed in the interview room at Kelly’s request. In

questioning Kelly, there is no evidence that Peterson spoke with a raised voice, and

there has been no suggestion that any of the law enforcement present employed any

methods of physical intimidation. Rather, our review of the circumstances of Kelly’s

interview reveals that Kelly’s statements, in response to Peterson’s questions, were

made of his own volition, and without coercion. Therefore, based on the totality of



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the circumstances, we find that Kelly’s statements to Peterson were knowing and

voluntary, and should not be suppressed.

             c.     Kelly’s Motion to Suppress Statements from Silkey Interview.

                    Much his previous interview with Peterson, we find that Kelly

knowingly, intelligently, and voluntarily, waived his Miranda rights -- and did so on

two separate occasions during his interactions with Silkey -- both at the onset of the

interview, as well as after being placed under arrest during the course of the interview.

Prior to any questioning, Silkey advised the Defendant of his Miranda rights, and he

presented the Defendant with an “Advice of Rights” form, which Kelly signed --

thereby expressly acknowledging that he understood his rights, and that he was

willing to waive those rights and proceed without the presence of an attorney.

Moreover, the Record is bereft of any suggestion that Silkey employed any coercive

tactics, or deceptive techniques, in eliciting that waiver -- on either occasion. In

addition, Kelly stated that he voluntarily decided to come to the police department to

offer his statements as he “couldn’t handle that sh*t,” since Feather was his friend.

See, All Parties Joint Exh. 3., at p. 3. Finding no basis to suppress any of Kelly’s

previous statements to Peterson, under similar circumstances that preceded Silkey’s




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interview, we find that Silkey’s subsequent follow-up interview was not tainted by

any impropriety in the prior interviews.

      Therefore, since we find that each of the Defendant’s statements were

voluntary, and were not otherwise obtained in violation of the protections set forth in

Miranda v. Arizona, supra, we recommend that Kelly’s Motion to Suppress

Statements be denied.

      B.     Kelly’s Motion to Suppress Evidence Obtained as a Result of Search and
             Seizure.

             Kelly’s Motion encompasses two separate searches -- a search of Kelly’s

residence, pursuant to Kelly’s consent, as well as a search, pursuant to a Warrant, of

Kelly’s person to obtain DNA samples, to which Kelly had also provided his consent.

We address the constitutionality of each search in turn.

             1.     The Search of Kelly’s Residence. “Searches without a warrant are

per se unreasonable subject to a few well established exceptions.” United States v.

Hill, 386 F.3d 855, 858 (8th Cir. 2004). However, “[a]n officer with consent needs

neither warrant nor probable cause to conduct a constitutional search.” United States

v. Pennington, 287 F.3d 739, 746 (8th Cir. 2002), quoting United States v. Jenkins, 92

F.3d 430, 436 (8th Cir. 1996), citing in turn, Schneckloth v. Bustamonte, 412 U.S. 218,

219 (1973). “[W]hen a prosecutor seeks to rely upon consent to justify the lawfulness

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of a search, he has the burden of proving that the consent was, in fact, freely and

voluntarily given,” Schneckloth v. Bustamonte, supra at 219, quoting Bumper v.

North Carolina, 391 U.S. 543, 548 (1968), “and the burden cannot be discharged by

showing mere acquiescence to a claim of lawful authority.” United States v. Sanders,

424 F.3d 768, 773 (8th Cir. 2005), citing Bumper v. North Carolina, supra at 548-49.

The voluntariness of a consent is determined from the totality of the circumstances.

Schneckloth v. Bustamonte, supra at 227.

      Here, Kelly consented to the search of his home, during his interview with

Silkey on August 28, 2006. Although his consent was obtained during the course of

the interview, and while in the presence of several law enforcement officers, Silkey

specifically provided Kelly with a “Consent to Search” form. See, Government Exh.

7; All Parties Joint Exh. 3. The signed form memorializes that Kelly had been advised

of his right to refuse consent, that his consent was voluntary, and that he authorized

the agents to take any items which they determined were related to their investigation.

See, Government Exh. 2. There has been no intimation that Kelly did not understand

the effect of his consent, or that his signature on the form was somehow coerced.

Accordingly, we are satisfied that Kelly’s consent “was the product of an essentially

free and unconstrained choice, and that [Kelly] comprehended the choice that he * *


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* was making.” See, United States v. Sanders, supra at *3, quoting United States v.

Cedano-Medina, 366 F.3d 684 (8th Cir. 2004), cert. denied, 543 U.S. 1035 (2004).

Moreover, since Kelly had specifically mentioned that his clothes could be located in

a room in his residence prior to signing the “Consent to Search” form, and the form

authorized a “complete search” of the residence, we also find that the search and

seizure did not exceed the scope of the consent given. See, United States v. Parker,

412 F.3d 1000, 1001-1002 (8th Cir. 2005)(finding that scope of consent not exceeded

when defendant told law enforcement where incriminating evidence was hidden);

United States v. Hines, 387 F.3d 690, 695 (8th Cir. 2004)(law enforcement officers

who searched an unattached garage did not exceed the scope of consent where the

defendant signed a consent form authorizing the search of an attached garage, where

the residence had only an unattached garage); United States v. Coffman, 148 F.3d 952,

953 (8th Cir. 1998)(defendant’s consent to search home encompassed searching under

the defendant’s bed and his pillow).

      Therefore, concluding that the search of Kelly’s residence was conducted in

accordance with Kelly’s voluntary consent, we recommend that his Motion to

Suppress the evidence obtained during the search of the residence be denied.

             2.    The Search and Seizure of Evidence from Kelly’s Person.


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                    a.     Standard of Review. In the issuance of a Search Warrant,

the Fourth Amendment dictates that an impartial, neutral, and detached, Judicial

Officer will assess the underlying factual circumstances in ascertaining whether

probable cause exists to conduct a search, or to seize incriminating evidence, the

instrumentalities or fruits of a crime, or contraband. See, Warden v. Hayden, 387 U.S.

294 (1967); United States v. Johnson, 64 F.3d 1120, 1126 (8th Cir. 1995), cert. denied,

516 U.S. 1139 (1996). In order to find probable cause, it must be demonstrated that,

in light of all the circumstances set forth in the supporting Affidavit, there is a fair

probability that contraband, or evidence of a crime, will be found in a particular,

designated place. See, United States v. Gladney, 48 F.3d 309, 313 (8th Cir. 1995);

United States v. Tagbering, 985 F.2d 946, 949 (8th Cir. 1993). For these purposes,

probable cause is “a fluid concept, turning on the assessment of probabilities in

particular factual contexts, not readily, or even usefully, reduced to a neat set of legal

rules.” Illinois v. Gates, 462 U.S. 213, 232 (1983); see also, Ornelas v. United States,

supra at 695.

      “Search warrant ‘[a]pplications and affidavits should be read with common

sense and not in a grudging hyper technical fashion.’” United States v. Ryan, 293

F.3d 1059, 1061 (8th Cir. 2002), quoting United States v. Goodman, 165 F.3d 610, 613


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(8th Cir. 1999), cert. denied, 527 U.S. 1030 (1999).        In conducting such an

examination, the Court should review the Affidavits as a whole, and not on a

paragraph-by-paragraph basis. See, United States v. Anderson, 933 F.2d 612, 614 (8th

Cir. 1991); Technical Ordnance, Inc. v. United States, 244 F.3d 641, 649 (8th Cir.

2001), cert. denied, 534 U.S. 1084 (2002). Moreover, the reviewing Court must not

engage in a de novo review but, rather, should accord great deference to the decision

of the Judicial Officer who issued the Warrant. See, United States v. Maxim, 55 F.3d

394, 397 (8th Cir. 1995), cert. denied, 516 U.S. 903 (1995); United States v. Curry,

911 F.2d 72, 75 (8th Cir. 1990), cert. denied, 498 U.S. 1094 (1991). This mandated

deference to the determination of the issuing Judicial Officer is consistent with the

Fourth Amendment’s sound preference for searches that are conducted pursuant to

Warrants. Illinois v. Gates, supra at 236.

             b.    Legal Analysis. Kelly has asked that we review the Search

Warrant, which was issued on September 5, 2006, in determining whether the Warrant

was supported by probable cause, or contained any other constitutional defects. Since

no challenge has been made to the execution of the Warrant, we focus our attention

on the “four corners” of the Warrant, in order to determine if probable cause was




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shown for its issuance, or if other fatal defects would justify the suppression of any

evidence secured by the Warrant’s execution.

      In support of the Application for the Warrant, Silkey recounted the events

which led to Kelly’s interviews on August 28, 2006, and the information obtained

from those interviews. See, Affidavit of Asher L. Silkey, Government Exh. 10, at pp.

1-2. Specifically, Silkey averred that Kelly told him that Kelly, as well as Jourdain,

had been fighting with Feather on August 27, 2006, and that Feather was bleeding

from the mouth, and appeared to be unconscious. Id. at p. 2. Kelly and Jourdain

awoke the following morning, and discovered Feather was dead. They obtained

shovels from another house, and dragged Feather’s body into the brush, and buried

him. Id. Kelly also recounted that he escorted investigators to a location where

Feather had been buried, where they uncovered a body. The investigators also

discovered certain human blood smears in the Jourdain residence, fingerprints, and

hair samples -- which still contained the hair’s root -- which were inconsistent with

the length of Feather’s hair. Id. at pp. 3-4. Silkey averred that law enforcement

technicians are trained and experienced in obtaining DNA extractions from blood and

hair samples which contain a root, and in comparing them with samples taken from

a buccal swab. Id. at pp. 4-5. Based upon that information, Silkey believed that there


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was probable cause to conclude that evidence, such as that obtained from two (2)

buccal swabs, and representational samples of plucked and rubbed head hair, and full

palmer “major case” fingerprints from Kelly, would demonstrate that Kelly was

involved in the death of Feather.

      On this showing, we find that there was ample probable cause to support the

issuance of the Search Warrant.       Specifically, according to the Affidavit, the

information that had already been gathered disclosed that the Kelly had fought with

Feather prior to his death, and that he had hit and kicked him. Moreover, the Affidavit

established that physical evidence, which had been obtained from the Jourdain

residence, where Kelly had admittedly struck Feather, could potentially match the

DNA that would be obtained from a buccal swab of Kelly. As previously related, we

find no reason to suppress Kelly’s statements to law enforcement, which undergird

Silkey’s averments, and accordingly, we find ample probable cause to support the

Search Warrant.

      Even if probable cause were absent, Kelly expressly consented to providing law

enforcement with DNA buccal swabs by signing a “Consent to Search” form, which

recounted that he was advised of his right to refuse his consent, and that his

permission to search was given voluntarily. See, Government Exh. 9. As was true


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with respect to Kelly’s consent to a search of his residence, there has been no

suggestion that Kelly misapprehended the effect of his consent, or that his signature

on the form was somehow coerced. Accordingly, we are satisfied that Kelly’s consent

to providing a DNA buccal swab sample was freely given, and that, even if we

concluded that probable cause for the Warrant were lacking -- which we do not do

under the circumstances here -- there is no basis for suppression.

      The Defendant has not drawn our attention to any other constitutional defect in

the Search Warrant, nor does our independent review disclose any. Therefore, having

found that the Search Warrant was supported by adequate probable cause, and that the

samples were obtained in accordance with Kelly’s consent, we recommend that the

Kelly’s Motion to Suppress the evidence obtained from his person be denied.5

      C.     Jourdain’s Motions to Suppress.




      5
        Even if the information in the Search Warrant was insufficient to establish
probable cause, we would be compelled, by the law of this Circuit, to find that the
officers’ reliance upon the Search Warrant was reasonable, because the Warrant was
“not so facially lacking in probable cause as to preclude the executing officers’ good
faith reliance thereon.” United States v. McNeil, 184 F.3d 770, 775 (8th Cir. 1999),
citing United States v. Leon, 468 U.S. 897, 922-23 (1984). Accordingly, even if
probable cause were lacking, and we concluded that the search was not consensual,
we would still recommend that Kelly’s Motion to Suppress Evidence Obtained from
Search Warrant be denied.

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             Jourdain’s Motions to Suppress assert that his arrest, and the subsequent

search of his residence on August 29, 2006, were without probable cause. Jourdain

further contends that his statements to Thompson were taken without a valid waiver

of his constitutional rights under Miranda v. Arizona, supra, and were otherwise the

fruit of his unlawful arrest. Prefatory to addressing those Motions, we consider the

constitutionality of Jourdain’s arrest.

             1.     Probable Cause for the Issuance of the Bench Warrant and
                    Jourdain’s Arrest.

                    a.     Standard of Review. “Determining probable cause to arrest

requires the court to focus on the moment the arrest was made and to ask whether ‘the

facts and circumstances within [the officers’] knowledge and of which they had

reasonably trustworthy information were sufficient to warrant a prudent man in

believing that the [suspect] had committed or was committing an offense.’” United

States v. Taylor, 106 F.3d 801, 803 (8th Cir. 1997), quoting Beck v. Ohio, 379 U.S. 89,

91 (1964). As we have noted, probable cause is “a fluid concept, turning on the

assessment of probabilities in particular factual concepts” and, as such, is “not readily,

or even usefully, reduced to a neat set of legal rules.” Illinois v. Gates, 462 U.S. 213,

232 (1983); see also Cooper Industries, Inc. v. Leatherman Tool Group, Inc., 532 U.S.

424, 435 (2001); Ornelas v. United States, 517 U.S. 690, 697 (1996).

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      We recognize, and accept, that an officer engaged in an arrest need not

personally have found probable cause in order to lawfully effect the arrest. As the

Court explained, in United States v. Gillette, 245 F.3d 1032, 1034 (8th Cir. 2001), cert.

denied, 534 U.S. 982 (2001):

             Where officers work together on an investigation, we have
             used the so-called “collective knowledge” theory, United
             States v. Gonzales, 220 F.3d 922, 925 (8th Cir. 2000), to
             impute the knowledge of one officer to other officers to
             uphold an otherwise invalid search or seizure. Under this
             rationale, the validity of a search “may be based on the
             collective knowledge of all of the law enforcement officers
             involved in an investigation if * * * some degree of
             communication exists between them,” id. See also United
             States v. Morales, 238 F.3d 952, 953 (8th Cir. 2001), and
             United States v. Twiss, 127 F.3d 771, 774 (8th Cir. 1997).
             The requirement that there be a degree of communication
             serves to distinguish between officers functioning as a
             “search team,” United States v. O’Connell, 841 F.2d 1408,
             1419 (8th Cir. 1988), cert. denied, 487 U.S. 1210, 108 S.Ct.
             2857, 101 L.Ed.2d 893 (1988), 488 U.S. 1011, 109 S.Ct.
             799, 102 L.Ed.2d 790 (1989), and officers acting as
             independent actors who merely happen to be investigating
             the same subject.

“‘The determination of whether probable cause exists must not rest on isolated facts;

rather it depends on the cumulative effect of the facts in the totality of

circumstances.’” Tokar v. Bowersox, supra at 1047, quoting United States v.

Everroad, 704 F.2d 403, 406 (8th Cir. 1983). We keep in mind, however, that


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“[p]robable cause does not require a prima facie showing of criminal activity, but only

the probability of criminal activity.” Id.

                    b.    Legal Analysis. As a threshold matter, we note that, at the

Hearing, counsel for Jourdain attempted to engage in a line of questioning with

Peterson, whose purpose was to attack the factual accuracy of the averments made in

the Affidavit in Support of the Warrant for Jourdain’s arrest. Upon objection from the

Government, that counsel for Jourdain was conducting discovery for the purpose of

collaterally attacking his Arrest Warrant, we were persuaded by counsel for Jourdain

that the Suppression Hearing was the only opportunity at which the issue of probable

cause for the arrest could be challenged. While we agree with Jourdain, that a

Suppression Hearing is the appropriate venue for contesting the probable cause for an

arrest, and correlatively, the admissibility of statements made after that arrest, see,

United States v. Chauncey, 420 F.3d 864, 870 (8th Cir. 2005)(analyzing whether

probable cause supported the defendant’s statements, and accordingly, whether post-

arrest statements should be suppressed); United States v. Grays, 46 F.3d 1136, 1995

(8th Cir. 1995)(Table Decision), we plainly erred in not requiring Jourdain to make the

“substantial preliminary showing” required by Franks v. Delaware, 438 U.S. 154

(1978). See, United States v. Carpenter, 422 F.3d 738, 745 (8th Cir. 2005)(“A


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defendant is entitled to a Franks hearing if he make a substantial preliminary showing

that a false statement was included in the warrant affidavit either intentionally or with

reckless disregard for the truth and the information was necessary to the finding of

probable cause.”), citing United States v. Fairchild, 122 F.3d 605, 610 (8th Cir. 1997).

      Although Franks involved an allegedly fraudulent Affidavit in support of a

Search Warrant, surely the seizure of a person, pursuant to an Arrest Warrant, is as

constitutionally important, as the seizure of incriminating evidence, or the fruits of a

crime, and the Courts have applied Franks to the evaluation of Arrest Warrants. See,

e.g., Bagby v. Brondhaver, 98 F.3d 1096, 1099 (8th Cir. 1996)(considering the

application of qualified immunity in the context of a Franks challenge to an Arrest

Warrant for Section 1983 purposes); United States v. Harrison, 400 F. Supp.2d 780,

785-86 (E.D. Pa. 2005); United States v. Colkley, 899 F.2d 297, 299 (4th Cir. 1990);

In re Extradition of Powell, 4 F. Supp.2d 945, 955-56 (S.D. Cal. 1998); United States

v. Padilla, 986 F. Supp. 163, 168-69 (S.D.N.Y. 1997). We conclude, therefore, that

Jourdain was obligated to proffer a sufficient showing of falsity in order to challenge

his Arrest Warrant through a Franks Hearing.

      The showing required for a Franks Hearing, has been described as follows:

             To mandate an evidentiary hearing, the challenger’s attack
             must be more than conclusory and must be supported by

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            more than a mere desire to cross-examine. There must be
            allegations of deliberate falsehood or of reckless disregard
            for the truth, and those allegations must be accompanied by
            an offer of proof. They should point out specifically the
            portion of the warrant affidavit this is claimed to be false;
            and they should be accompanied by a statement of
            supporting reasons. Affidavits or sworn or otherwise
            reliable statements of witnesses should be furnished, or
            their absence satisfactorily explained. Allegations of
            negligence or innocent mistake are insufficient.
Franks v. Delaware, supra at 171.

Here, Jourdain offered no such showing, but simply registered his interest in cross

examining the witnesses to determine if a Franks Hearing were warranted. As our

Court of Appeals has made plain, Suppression Hearings should not be expanded so

as to elude “the very limited circumstances in which a Franks v. Delaware hearing is

appropriate.” United States v. Ozar, 50 F.3d 1440, 1445 (8th Cir. 1995), cert. denied,

516 U.S. 871 (1995), citing United States v. Shields, 783 F. Supp. 1058, 1064-65

(N.D. Ill. 1991).

      Nevertheless, a Record has now been proffered to us, and we examine that

Record to determine whether, as a supplement to Jourdain’s original showing, a

Franks Hearing is warranted. As the Court explained, in United States v. Lucca, 377

F.3d 927, 931 (8th Cir. 2004):

             This showing of deliberate or reckless falsehood is “not
             lightly met.” United States v. Wajda, 810 F.2d 754, 759

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             (8th Cir. 1987). In particular, a defendant must “point out
             specifically the portion of the warrant affidavit that is
             claimed to be false; and [the allegations] should be
             accompanied by a statement of supporting reasons.
             Affidavits or sworn or otherwise reliable statements of
             witnesses should be furnished, or their absence
             satisfactorily explained.” Franks, 438 U.S. at 171, 98 S.Ct.
             2674.
See also, United States v. Anderson, 243 F.3d 478, 482 (8th Cir. 2001)(“[Defendant]
provided no evidence, however, to support his conclusory contention [that warrant
affidavit was intentionally or recklessly false], and without it he cannot meet his
burden under Franks, because ‘[a] mere allegation standing alone, without an offer of
proof in the form of a sworn affidavit of a witness or some other reliable
corroboration, is insufficient to make the difficult preliminary showing,’ United States
v. Mathison, 157 F.3d 541, 548 (8th Cir. 1998), cert. denied, 525 U.S. 1089, 119 S.Ct.
841, 142 L.Ed.2d 696 (1999).

Having closely vetted the evidence, we conclude that nothing offered by Jourdain

satisfies the requisite preliminary showing.

      In support of the Criminal Complaint -- which led to the issuance of a Bench

Warrant for Jourdain’s arrest -- Egelhof, who is a Special Agent with the FBI, and

who has the primary responsibility for investigating violent crimes on the Red Lake

Indian Reservation, submitted an Affidavit which detailed the information which

caused him to suspect that Kelly and Jourdain, “without just cause or excuse and with

malice aforethought, did unlawfully kill [Feather.]” See, Affidavit of John Egelhof,

Docket No. 1, at pp. 4-5.



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      The initial portion of Egelhof’s Affidavit details the investigation into Feather’s

disappearance, and that Kelly had “asked to speak to an officer of the RLPD with

whom he was familiar.” Id. at p. 1. Egelhof recounted that “Kelly disclosed to that

officer that he, Jourdain and Feather had been together at Jourdain’s home in the Little

Rock section of the reservation, and, while there, he and Jourdain had beaten Feather

to death and then buried him.” Id. Egelhof then summarized the information obtained

from Kelly’s subsequent interviews with Peterson and Silkey. Egelhof averred as

follows:

             At approximately 2:00 a.m. on the following morning,
             August 27, 2006, Kelly, Jourdain, and Feather started
             fighting outside the Jourdain house. The fight turned into
             Kelly and Jourdain against Feather, in which both Kelly
             and Jourdain beat Feather by punching and kicking him.
             Feather was bleeding from the mouth and appeared
             unconsious [sic].

             Kelly told SA Silkey and CI Peterson that he thought that
             Feather was knocked out so he and Jourdain left Feather
             laying on the ground outside bleeding from the mouth and
             went back into the residence and fell asleep.

             Kelly and Jourdain woke up the next morning and found
             Feather dead. They obtained shovels from another house,
             then dragged Feather into the brush and buried him.

             Kelly took the interviewers to a location in the woods near
             Jourdain’s home and showed them the location where
             Feather was buried, the location where Kelly and Jourdain

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               had discovered Feather on the morning of August 27, 2006,
               and identified other areas of interest.
Id. at p. 2.

At the Suppression Hearing, Jourdain argued that Egelhof omitted material, and

exculpatory information from his Affidavit, and that, had the Affidavit contained that

information, there would not have been probable cause for his arrest.

       Under Franks v. Delaware, supra at 155-56, suppression is warranted if a

defendant makes the following showing: 1) the affiant omitted information with the

intent to make, or in reckless disregard of whether it made, the Affidavit misleading;

and 2) if supplemented with the omitted information, the Affidavit would not have

been sufficient to support a finding of probable cause. See, United States v. Jacobs,

986 F.2d 1231, 1234 (8th Cir. 1993). “Only if the affidavit as supplemented by the

omitted material could not have supported the existence of probable cause will

suppression be warranted.” Id. [citations omitted]; see also, United States v. Hall, 171

F.3d 1133, 1143 (8th Cir. 1999)(requiring a defendant to make a “‘substantial

preliminary showing,’ Franks, 438 U.S. at 171, 98 S.Ct. 2674, ‘that the affiant omitted

facts with the intent to make, or in reckless disregard of whether the omissions made,

the affidavit misleading, and that the affidavit, if supplemented by the omitted




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information, could not support a finding of probable cause.’”), citing United States v.

LaMorie, 100 F.3d 547, 555 (8th Cir. 1996).

      Given the Record presented, we find that there was ample probable cause to

support the issuance of the Bench Warrant. Specifically, according to the Affidavit,

the information that had already been gathered revealed that Jourdain, as well as

Kelly, were involved in a fight with Feather on the date; that Jourdain had punched

and kicked Feather; and that Jourdain left Feather bleeding on the ground. Egelhof

also averred that Jourdain and Kelly, in a joint effort, buried Feather’s body in the

woods near Jourdain’s home. In sum, we find these averments sufficient to establish

probable cause for the issuance of a Bench Warrant for Jourdain’s arrest, as to the

charges alleged.

      As for any asserted omissions, we understand Jourdain’s arguments at the

Hearing to intimate that Egelhof omitted certain of Kelly’s statements from the

beginning of his interview with Peterson, at which time, Kelly stated that Jourdain

could “speak for himself” about the events leading to Feather’s death, that “Kelly does

not know if Jourdain hit or kicked Feather,” and that “Kelly does not know what

Jourdain did.” See, All Parties Joint Exh. 3, at p. 2. Jourdain argues that Egelhof




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intentionally, or recklessly, omitted from his Affidavit any mention of those previous

statements of Kelly’s uncertainty in regards to Jourdain’s involvement.

       While an inference may be drawn that missing information was recklessly

omitted, in order for the inference to be valid, the omitted material must be “clearly

critical” to the finding of probable cause. See, United States v. Jacobs, supra at 1235.

Here, the lack of Kelly’s earlier statements in Egelhof’s Affidavit is not clearly critical

to a finding of probable cause. First, Egelhof was not present when the Peterson

interview was conducted with Kelly and, on the Record presented, we have no

knowledge as to whether Egelhof was aware of Kelly’s previous statements of

uncertainty concerning the extent to which Jourdain fought with Feather. See, United

States v. Hall, 2006 WL 1520629 at *12 (E.D. Mo., May 31, 2006)(finding omissions

in supporting affidavit did not warrant suppression, as “on this record there is no

evidence that [the affiant] knew that [a witness] described Defendant at 5'5 or that she

told conflicting stories,” and that “[e]ven if he had reason to know of the information,

the Court cannot find that the omission of such information was done with the intent

to make the affidavit misleading or in reckless disregard of same.”). Moreover, even

though Kelly may have “changed his story” in his later statements, we find that the

inclusion of Kelly’s initial statements as to Kelly’s recollections of the fight would not


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disturb a finding of probable cause, as to Jourdain. See, United States v. Stropes, 387

F.3d 766, 769 (8th Cir. 2004)(“[T]he omission of Mr. Blakely's initial false statements

to the investigating officers and the omission of Mr. Blakely's criminal record did not

make the affidavit misleading.”).

      While Jourdain may argue that the potential inconsistencies in Kelly’s

statements could ultimately undermine the credibility of Kelly’s recounting of the

altercation with Feather, we find that Egelhof’s Affidavit contains ample information

which would support a finding of probable cause concerning Jourdain’s involvement

in Feather’s death -- by describing Jourdain’s role in striking Feather, and his

subsequent actions in leaving Jourdain outside, discovering his body, and assisting in

the burial of Feather’s body. Therefore, the asserted omission of Kelly’s previous

statements was not “clearly critical” to the finding of probable cause, and therefore,

we do not draw from that omission any reasonable inference that the omission was

intentional, or reckless. Furthermore, Kelly’s statements, which implicated Jourdain’s

role in Feather’s death, were not made in an effort to deflect blame from himself, since

Kelly continued to describe his role in an inculpatory manner.




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      Therefore, having found that Jourdain’s arrest pursuant to a Bench Warrant was

supported by adequate probable cause, we recommend that Jourdain’s Motions to

Suppress, based on a lack of probable cause for his arrest, be denied.6

             2.     Jourdain’s Motion to Suppress Statements. We analyze Jourdain’s

Motion according to the same standards we previously applied to Kelly’s paralleling

Motion. In addition, we note that, if a person is subjected to a custodial interrogation,

he or she “has the right to consult with an attorney and to have counsel present during

questioning.” Davis v. United States, 512 U.S. 452, 457 (1994). To exercise that

right, however, a suspect “must unambiguously request counsel,” which “‘requires at

a minimum, some statement that can reasonably be construed to be an expression of


      6
        Even if we had concluded that probable cause for the issuance of the Bench
Warrant were wanting, the Warrant was issued by an experienced Judicial Officer,
upon whom the executing law enforcement agents had a good faith basis to rely. The
Defendant does not urge, let alone demonstrate, that the Judicial Officer was other
than “detached and neutral,” was simply a mere “rubber stamp,” or committed any
specific error in the issuance of the Warrant, which should have deterred the searching
officers’ from reasonably relying on the Warrant. United States v. Leon, 468 U.S.
897, 914 (1984), quoting Aguilar v. Texas, 378 U.S. 108, 111 (1964), abrogated on
other grounds, Illinois v. Gates, 462 U.S. 213 (1983). While arising in the context of
a Search Warrant, Leon has equal application to Arrest Warrants. See, United States
v. Johnson, 121 F.3d 1141, 1143 (8th Cir. 1997), citing Arizona v. Evans, 514 U.S. 1
(1995), and United States v. Teitloff, 55 F.3d 391, 393 (8th Cir. 1995). As a
consequence, even if probable cause were questionable, which it is not, we would
recommend the denial of the Motions to Suppress on the basis of the good faith
doctrine first enunciated in Leon.

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a desire for the assistance of an attorney.’” Id. at 459, quoting McNeil v. Wisconsin,

501 U.S. 171, 178 (1991). Furthermore, “if a suspect makes a reference to an attorney

that is ambiguous or equivocal * * * [such] that the suspect might be invoking his

right to counsel, our precedents do not require the cessation of questioning.” Id.

[emphasis in original]. In addition, “the Sixth Amendment right to counsel ‘does not

attach until a prosecution is commenced, that is, at or after the initiation of adversary

judicial criminal proceedings -- whether by way of formal charge, preliminary

hearing, indictment, information, or arraignment.” Von Kahl v. United States, 242

F.3d 783, 789 (8th Cir. 2001), quoting McNeil v. Wisconsin, supra at 175; see also, Id.

(“The filing of a criminal complaint and the issuance of an arrest warrant do not

constitute the initiation of an adverse judicial proceeding.”), citing United States v.

Moore, 122 F.3d 1154, 1156 (8th Cir. 1997).

       “The right to counsel recognized in Miranda is sufficiently important to

suspects in criminal investigations, * * * that it ‘requir[es] the special protection of the

knowing and intelligent waiver standard.’” Davis v. United States, supra at 458,

quoting Edwards v. Arizona, 451 U.S. 477, 483 (1981). Nevertheless, “[i]f the

suspect effectively waives his right to counsel after receiving the Miranda warnings,

law enforcement officers are free to question him.” Id., citing North Carolina v.


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Butler, 441 U.S. 369, 372-376 (1979); see also, United States v. Jones, 23 F.3d 1307,

1313 (8th Cir. 1994).    The burden rests with the Government to prove, by a

preponderance of the evidence, that the Defendant knowingly and voluntarily waived

his Miranda rights. See, Colorado v. Connelly, 479 U.S. 157, 168 (1986); United

States v. Dougherty, 810 F.2d 763, 773 (8th Cir. 1987).

      Here, there is no dispute that Jourdain was in custody at the time that his

statements were made to law enforcement, and that he made those statements during

a custodial interrogation, after his arrival at the Crookston Police Department. We

have already addressed Jourdain’s challenge to the validity of his arrest which, in any

event, we found was supported by probable cause.            Moreover, the Record is

uncontested that, prior to the interview, Jourdain was advised of his Miranda rights,

and that he waived those rights by signing an “Advice of Rights” form, which

contained the statement: “I have read this statement of my rights and I understand

what my rights are,” and “[a]t this time, I am willing to answer questions without a

lawyer present.” See, Government Exhibit 12. Accordingly, since there is nothing

in the Record to suggest that any of the officers utilized coercive tactics in the

procurement of that waiver, we find that Jourdain knowingly, intelligently, and

voluntarily, waived his Miranda rights.


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      In considering the totality of the circumstances, we do not believe that

Jourdain’s will was overborne by the questioning techniques that were employed by

law enforcement. Here, Thompson’s uncontroverted testimony established that

Jourdain made eye contact constantly throughout the course of the interview, and he

appeared to be in good health. In addition, Jourdain advised, at the beginning of his

interview, that he “wanted to testify against what Robin did,” and that he did not want

to incriminate himself. All Parties Joint Exh. 4, at p. 21. While Jourdain asserts that

his statements were involuntary, he has failed to support the assertion with any

specific, and evidence-based, instances of coercion. As we have detailed, Jourdain’s

interview was the product of his election to cooperate with law enforcement. Jourdain

does not contend that the length of the interrogation was unduly burdensome, that he

was denied any of the normal accommodations of daily living, or that the agents

duped him into lending his cooperation to their investigation.

      Nor does he suggest, let alone prove, the existence of any physical, or mental

impairments, which would adversely impact upon the voluntariness analysis, or urge

any age-related naivety which would reflect a less than voluntary choice, on his part,




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to answer law enforcement’s questions.7 Further, we note that Thompson testified that

the interview was terminated after Jourdain expressed a desire to cease the

questioning. Accordingly, we find that Jourdain was sufficiently aware of his ability

to revoke his consent to the interview, which he did without any apparent prompting

from law enforcement.

      Finally, Jourdain advised Thompson that he had an attorney prior to the

beginning of the interview. Thompson testified that he expressly asked Jourdain if he

wanted to speak to his attorney prior to waiving his rights, to which Jourdain

responded by saying “no.” After expressing his desire to be interviewed without the

presence of counsel, Jourdain signed the “Advice of Rights” form, which provided

that “[a]t this time, I am willing to answer questions without a lawyer present.” See,

Government Exh. 12.

      Pursuant to Edwards v. Arizona, in the context of the Fifth Amendment, “[a]

suspect who invokes the Miranda right to counsel may not be reapproached by police

unless counsel is made available.” United States v. Harris, 221 F.3d 1048, 1051 (8th



      7
       We do note that Jourdain was arrested after a stay at a detoxification center.
However, Jourdain has not argued that he was under the influence of any drugs, or
alcohol, that would impair his judgment or diminish his will, so as to render his
statements involuntary.

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Cir. 2000). However, as we have previously noted, in order to successfully invoke a

right to counsel, a suspect’s request must be unambiguous, and unequivocal. See,

Davis v. United States, supra at 459; McNeil v. Wisconsin, supra at 178.

Furthermore, “if a suspect makes a reference to an attorney that is ambiguous or

equivocal * * * [such] that the suspect might be invoking his right to counsel, our

precedents do not require the cessation of questioning.” Id. [emphasis in original].

Accordingly, the question presented is whether Jourdain’s statement, that he had a

lawyer, constituted an unequivocal invocation of his right to counsel. We find that it

did not.

      In order to invoke his right to counsel, a suspect “must articulate his desire to

have counsel present sufficiently clearly that a reasonable officer in the circumstances

would understand the statement to be a request for an attorney.” Davis v. United

States, supra at 459. Applying this standard, the United States Court of Appeals for

the Seventh Circuit recently held that the question, “Can I have a lawyer,” was an

invocation of the right to counsel. See, United States v. Lee, 413 F.3d 622, 626 (7th

Cir. 2005). Similarly, Courts have held that a statement such as “maybe I should talk

to an attorney by the name of William Evans,” see, Abela v. Martin, 380 F.3d 915,

926-27 (6th Cir. 2004), and “I’d just as soon have an attorney,” see, Kyer v. Carlton,


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146 F.3d 374, 379 (6th Cir. 1998), also constitute unequivocal invocations of the right

to counsel. See also, Alvarez v. Gomez, 185 F.3d 995, 998 (9th Cir. 1998)(finding the

defendant’s three questions: “Can I get an attorney right now,” “You can have an

attorney right now,” and “Well, like right now you got one,” considered together,

constituted an unequivocal invocation); United States v. Johnson, 400 F.3d 187, 195

(4th Cir. 2005) (holding that suspect who checked “no” on a form which asked whether

he “want[ed] to make a statement without his lawyer at this time,” unequivocally

invoked right to counsel ); United States v. Miller, 2005 WL 8475323 at 3 (D. Neb.,

December 20, 2005)(“There is nothing unclear or equivocal about the statement ‘I

want to talk to my lawyer.’”).

      By way of contrast, the statement “Maybe I should talk to a lawyer,” that was

presented to the Supreme Court in Davis v. United States, supra at 455, was deemed

equivocal, as were the statements “Do you know any good attorneys,” see, United

States v. Kelly, 329 F.3d 624, 630 (8th Cir. 2003), “I think I would like to talk to a

lawyer,” Clark v. Murphy, 331 F.3d 1062, 1065 (9th Cir. 2003), and “I think I need a

lawyer,” Burket v. Angelone, 208 F.3d 172, 198 (9th Cir. 2000), were considered

equivocal. See also, United States v. Syslo, 303 F.3d 860, 867 (8th Cir. 2002) (finding

statement “I don’t think I need an attorney for this” was equivocal); United States v.


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Ramirez, 2002 WL 31933026 at *6-8 (S.D. Iowa, April 16, 2002)(holding that the

defendant’s question to an officer as to whether he thought that the defendant needed

an attorney was equivocal); United States v. Segal, 207 F. Supp.2d 835, 841 (N.D. Ill.

2002)(holding that the defendant did not invoke his right to counsel, when he told the

officers “you can talk to my lawyer”); Williams v. Larson, 2003 WL 1785807 (N.D.

Cal., March 31, 2003)(holding that the defendant’s statement, that he had talked to

counsel who had told him not to talk, was not an invocation of the right to counsel);

United States v. Sprouse II, 2002 WL 15866 (W.D. Va., January 8, 2002)(same); cf.,

Bruni v. Lewis, 847 F.2d 561, 564 (9th Cir. 1988)(holding that the defendant did not

unambiguously invoke his right to counsel when he stated, in response to an officer’s

request that he answer questions, “[n]ot without my attorney,” and then immediately

added, “[w]ell, ask your questions and I will answer those I see fit”).

      In the context of a Habeas Petition, our Court of Appeals was recently presented

with the question of whether a State Court’s finding, that the statement, “Could I call

my lawyer,” was equivocal, constituted an unreasonable application of clearly

established Federal law. See, Dormire v. Wilkinson, supra at 805. In its analysis, the

Court noted that the State Court’s conclusion was premised upon the principle

announced in Davis, and the State Court had concluded that the petitioner did not


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request the assistance of counsel, but only requested to call his attorney. The Court

also noted that, since the interviewing officer had answered “yes” to the petitioner’s

question of whether he could call his lawyer, the State Court had found that the

petitioner “was given the opportunity [to call an attorney], and for reasons only known

to him, declined to do so.” Id. at 803-04. Based on these findings, the Court held that

the State Court’s conclusion, that the petitioner’s statement was equivocal, and did not

constitute an unreasonable application of clearly established Federal law -- thereby

reversing the holding of the District Court to the contrary. Id. at 805 (“[Petitioner’s]

question was not such a clear and unambiguous request for counsel that [the

investigating officer] was required to stop his interrogation.”); see also, United States

v. Eastman, 256 F. Supp.2d 1012, 1019 n. 6 (D.S.D. 2003)(finding, in dicta, that the

question, “Can I have a lawyer” “[w]as not an unequivocal request for counsel within

the meaning of Davis and its progeny”), citing 2 W. LeFave, J. Israel, N. King,

Criminal Procedure, §6.9(g) at pp. 609-112, n. 148; but see, United States v. Lee,

supra at 626 (statement, “Can I have my lawyer” was proper invocation of Miranda).

      Here, the statement given by Jourdain, that he “had a lawyer,” was equivocal

in the sense that it was reasonable for the officers to conclude that Jourdain was

advising them of that fact, rather than asserting an interest in talking to the lawyer


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before responding to the officers’ questions. See also, United States v. Eastman, supra

at 1019, n. 6. Moreover, as soon as Jourdain made this statement, Thompson asked

him to clarify whether he wanted to speak with an attorney before proceeding with the

interview, at which time, Jourdain expressed his desire to continue without the

presence of his attorney.

      Of course, we are mindful that, in Davis, the Supreme Court did not require the

interviewing officers to ask clarifying questions following an equivocal invocation of

counsel, but the Court certainly did not prohibit such a limited inquiry. As the Court

explained:

             Of course, when a suspect makes an ambiguous or
             equivocal statement it will often be good police practice for
             the interviewing officers to clarify whether or not he
             actually wants an attorney. * * * Clarifying questions help
             protect the rights of the suspect by ensuring that he gets an
             attorney if he wants one, and will minimize the chance of
             a confession being suppressed due to subsequent judicial
             second-guessing as to the meaning of the suspect’s
             statement regarding counsel. But we decline to adopt a rule
             requiring officers to ask clarifying questions.
Id. at 461-62.

Here, Thompson asked a clarifying question afterJourdain’s reference to a lawyer.

Jourdain responded by clarifying that he was not invoking his right to the presence of

counsel. Shortly thereafter, Jourdain was advised of his rights under Miranda,


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including his right to contact an attorney and, after stating that he understood his

rights, Jourdain agreed to answer the officer’s questions.

      In sum, we are unable to find that “a reasonable officer in light of the

circumstances would have understood” Jourdain’s statement as a request to confer

with counsel. See, Davis v. United States, supra at 459. Indeed, when directly

questioned as to whether he wanted to speak with his attorney, Jourdain did not make

such a request. Therefore, we find that Jourdain knowingly waived his right to speak

with law enforcement without the presence of his lawyer. We further find that

Jourdain’s will was not over-borne and, under the totality of the circumstances, we

conclude that his statements, which were made during the interview on August 29,

2006, were voluntary. In sum, we find no basis to suppress Jourdain’s statements, and

therefore, his Motion to Suppress those statements should be denied.

             3.    Jourdain’s Motion to Suppress Evidence Obtained By Search and
                   Seizure.

                   Jourdain’s Motion seeks our review of the Search Warrant for his

residence, based upon the “four corners” of the Warrant and its supporting papers. No

testimony was adduced, at the Suppression Hearing, concerning the execution of the

Search Warrant, and we have already addressed the existence of probable cause for



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Jourdain’s arrest. Therefore, our recounting of the facts is limited to those contained

in the Warrant’s Application.

                    a.     The Search Warrant, Supporting Affidavit, and Receipt. On

August 29, 2006, a Search Warrant was executed at Jourdain’s residence, in Red Lake,

Minnesota. The Warrant was issued by a Magistrate Judge in this District, and it

authorized a search for human blood, hair, saliva and other bodily fluids, flesh

particles, full and empty alcoholic beverage containers, fingerprints, blood drips,

spatters, smears, wipe, fabric transfers, fabric fibers, bloody clothing, bloody

fingerprints, bloody footprints, clothing, and/or personal belongings of Feather and/or

Kelly, and indicia of ownership/occupation/habitation of the residence of Jourdain,

including but not limited to utility bills and deeds. The Search Warrant authorized a

search of the residence, as well as the grounds of the Jourdain residence, including the

curtilage and two (2) vehicles present in the yard, on or before September 8, 2006.

See, Government Exh. 13.

      In support of the Search Warrant, Egelhof submitted an Affidavit in which he

averred that he had received information from other law enforcement officers, who

had summarized Kelly’s statements made on August 28, 2006. The Affidavit recounts

that Kelly stated that he and Jourdain had beaten Feather to death and buried him


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outside of the Jourdain residence. Kelly, Feather, and Jourdain, had been drinking,

and Feather had been bleeding from his mouth, and appeared unconscious. Kelly and

Jourdain obtained shovels from another house, dragged Feather’s body into the brush,

and buried him. Egelhof averred that Kelly took his interviewers to a location near

the Jourdain residence, and showed them Feather’s burial location, where they had

discovered Feather’s body on the morning of August 27, 2006, and observed “other

areas of interest.”

      Egelhof averred that he was familiar with bloody crime scenes, and that, from

his experience and training, he knew that it was common that “liquid blood from an

outdoor assault scene can be easily tracked back into and/or deposited in an indoor

location that the perpetrators visit after an assault.” Affidavit of John Egelhof,

Government Exh. 13, at p. 3. The Affidavit averred that Kelly made a statement that,

“after beating Feather outside the Jourdain home, he and Jourdain went back into the

residence,” and that it was likely that Feather’s blood, saliva, and other bodily fluids

would be found inside of the Jourdain residence, in the form of drips, smears,

splatters, fabric transfer patterns, fingerprints, and footprints. He also attested that

they would find evidence, such as latent fingerprints, alcoholic beverage containers,

clothing, fabric, fibers, hair, saliva, and personal belongings of Feather, and Kelly,


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inside the Jourdain residence. Further, Egelhof averred that there was probable cause

to conclude that indicia of Jourdain’s possession of the residence would be found in

the Jourdain residence. Egelhof provided additional details concerning the Jourdain

residence, the curtilage, and the vehicles found at that residence.

      The Evidence Recovery Log that is associated with the Search Warrant, records

that a number of materials were seized from the Jourdain residence, as well as the

surrounding curtilage. The materials primarily consisted of clothing, a discolored

substance found on a rock, remnants of a fire pit, plastic sheeting, unknown

substances presumed to be body fluids, small sections of fibers and materials,

alcoholic beverage containers, Jourdain’s Court papers, and shovels. Government

Exh. 14.

             b.     Legal Analysis. Necessarily, we analyze the Search Warrant for

Jourdain’s residence under the same standard of review as we employed in

considering Kelly’s paralleling Motion. Given the averments in Egelhof’s Affidavit,

as well as our previous discussion of probable cause for Jourdain’s involvement in this

matter, there is unquestionably probable cause for the search of Jourdain’s residence,

and the surrounding curtilage, for biological samples, and other evidence surrounding

Feather’s death. See, All Parties Joint Exh. 4., at pp. 18-19.


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      The Warrants which issued were sufficiently particularized, as to both the

places to be searched, and the objects to be seized, and Jourdain draws no other

infirmity in the Warrant to our attention, and our own independent review fails to

disclose any. In addition, we find that the information supporting the Search Warrant

was not stale, given that not more than a day passed between Kelly’s statements, and

the execution of the Search Warrant. Accordingly, we recommend that Jourdain’s

Motion to Suppress the evidence obtained by Search Warrant, be denied in all

respects.

      NOW, THEREFORE, It is --

      RECOMMENDED:

      1.     That Kelly’s Motion to Suppress Confession or Statements [Docket No.

38] be denied.

      2.     That Kelly’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure [Docket No. 35] be denied.

       3.    That Jourdain’s Motion to Suppress Statements, Admissions, and

Answers [Docket No. 46] be denied.




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      4.     That Jourdain’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure [Docket No. 45] be denied.



Dated: November 8, 2006                          s/Raymond L. Erickson
                                                 Raymond L. Erickson
                                                 CHIEF U.S. MAGISTRATE JUDGE


                                     NOTICE

      Pursuant to Rule 45(a), Federal Rules of Criminal Procedure, D. Minn.

LR1.1(f), and D. Minn. LR72.1(c)(2), any party may object to this Report and

Recommendation by filing with the Clerk of Court, and by serving upon all parties by

no later than November 27, 2006, a writing which specifically identifies those

portions of the Report to which objections are made and the bases of those objections.

Failure to comply with this procedure shall operate as a forfeiture of the objecting

party's right to seek review in the Court of Appeals.

      If the consideration of the objections requires a review of a transcript of a

Hearing, then the party making the objections shall timely order and file a complete

transcript of that Hearing by no later than November 27, 2006, unless all interested




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parties stipulate that the District Court is not required by Title 28 U.S.C. §636 to

review the transcript in order to resolve all of the objections made.




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